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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 SUPERIOR CONSULTING GROUP and §
 TRACEY WOODSON,               §
                               §
      Plaintiffs,              §
 v.                            § CIVIL ACTION NO. 4:22-cv-896
                               §
 PHH MORTGAGE CORPORATION,     §
 GUILD MORTGAGE COMPANY fdba   §
 CORNERSTONE MORTGAGE          §
 COMPANY, and MORTGAGE         §
 ELECTRONIC REGISTRATION       §
 SYSTEMS, INC. (MERS),         §
                               §
      Defendants.              §

                    DEFENDANT’S NOTICE OF NO RESPONSE TO
                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant PHH Mortgage Corporation (“PHH”) files this, its Notice of No Response to

PHH’s Motion for Summary Judgment (the “Motion”) and would respectfully show as follows:

       1.      On February 21, 2022, Plaintiffs Superior Consulting Group and Tracey Woodson

(collectively “Plaintiffs”) initiated this suit by filing their original petition in Cause No. 2022-

10621, Superior Consulting Group and Tracey Woodson v. PHH Mortgage Corporation, Guild

Mortgage Company, fdba Cornerstone Mortgage Company, and Mortgage Electronic

Registration Systems, Inc. (MERS), in the 61st Judicial District Court of Harris County, Texas.

       2.      On February 22, 2022, Plaintiffs filed their Amended Original Petition and

Application for Temporary Restraining Order, Temporary Injunction and Request for Disclosure.

       3.      On March 18, 2022, Defendant timely removed the matter to this Court. Doc. 1.

       4.      On February 20, 2023, PHH filed its Motion for Summary Judgment. Doc. 7.

       5.      Pursuant to Local Rule 7.4, Plaintiffs’ deadline to respond to the Motion was March

13, 2023.


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         6.       To date, and to the best of PHH’s knowledge, Plaintiffs have failed to file a response

to the Motion and PHH’s undersigned counsel has not otherwise been served with a response. As

such, the Court may consider the Motion unopposed.1

         Accordingly, PHH respectfully requests that the Court grant its Motion for Summary

Judgment pursuant to Fed. R. Civ. P. 56 and for all other and further relief to which it has shown

itself entitled at law or in equity.

                                                       Respectfully submitted,

                                                        By: /s/ Kathryn B. Davis
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                                                            and

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                                                         COUNSEL FOR DEFENDANT PHH
                                                         MORTGAGE CORPORATION




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  See Local Rule 7.4 (“Failure to respond will be taken as a representation of no opposition.”). See also Stevenson v.
Fort Bend County, No. H-05-2656, 2006 U.S. Dist. LEXIS 81319, 2006 WL 3245755 n. 2 (S.D.Tex., Nov. 7, 2006)
(“Plaintiff filed no response to either of these motions, thereby representing that she is unopposed to them.”). See also
Villegas v. Grace Disposal Systems, LLC, No. H-13-320, 2013 U.S. Dist. LEXIS 154570, 2013 WL 5816554 at *1
(S.D.Tex., Oct. 29, 2013) (“If a response is not filed by the submission day, it will be taken as a representation of no
opposition.” (quotation marks omitted)).
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 28, 2023, a copy of the above and foregoing was filed
electronically with the Clerk of Court. Notice of this filing has been forwarded to all parties, by
and through their attorneys of record by operation of the Court’s electronic filing system.

                                         Via CM/ECF
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                                      Attorneys for Plaintiffs


                                                     /s/ Kathryn B. Davis
                                                     KATHRYN B. DAVIS




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